                         Case 96-54979            Doc 1261-1         Filed 06/02/10         Page 1 of 1

                                                    Notice Recipients
District/Off: 0416−1                     User: vharper                          Date Created: 6/2/2010
Case: 96−54979                           Form ID: pdfparty                      Total: 2


Recipients submitted to the BNC (Bankruptcy Noticing Center):
aty         Lewis Stephen Goodman       Rifkin, Livingston, et al.     575 S. Charles St., Ste. 200        Baltimore, MD
            21201
            John J. Leidig, Esquire   Rifkin, Livingston, et al.     575 South Charles Street, Suite 200        Baltimore, MD
            21201
                                                                                                                    TOTAL: 2
